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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA     *
                             *
                             *
v.                           * Case No.: RWT 13cr282-4
                             *
                             *
MICHAEL C. MCCREE,           *
                             *
    Defendant.               *
                            ***
                MEMORANDUM OPINION AND ORDER

       The Defendant has been charged by indictment with Conspiracy to Distribute and Possess

with Intent to Distribute (1) one kilogram or more of a mixture and substance containing a

detectable amount of phencyclidine, (2) five kilograms or more of a mixture and substance

containing a detectable amount of cocaine and (3) 28 grams or more of a mixture and substance

containing a detectable amount of cocaine base in violation of 21 U.S.C. § 841. ECF No. 1.

Following his arrest, on June 18, 2013, the Defendant was brought before United States

Magistrate Judge Charles B. Day of the United States District Court for the District of Maryland

for a detention hearing pursuant to 18 U.S.C. § 3142(f). ECF No. 50. After the hearing,

Magistrate Judge Day entered an Order detaining the Defendant pending trial. ECF No. 57.

From the information produced at the hearing, Judge Day found (1) that the government is

entitled to a presumption of detention under 18 U.S.C. § 3142(e) and the Defendant failed to

rebut the presumption, (2) by clear and convincing evidence that the Defendant poses a risk to

the safety of other persons and the community, and (3) by clear and convincing evidence that

there is no condition or combination of conditions which will reasonably assure community

safety. Id. As additional reasons for detention, Judge Day cited the Defendant’s criminal history,
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the fact that the Defendant was already under supervision at the time of his arrest, his history of

controlled dangerous substance use and activity, and the strength of the case. Id.

       On June 3, 2014, the Defendant filed a Motion for Review of and Revocation of

Detention Order. ECF No. 165. A hearing was held on June 11, 2014 to consider the motion.

ECF No. 168.

       To address the Defendant’s motion for review of the detention ruling, the Court

conducted a de novo review of the detention order. See United States v. Clark, 865 F.2d 1433,

1436–38 (4th Cir. 1989). In conducting this review, the Court considered the Defendant’s

motion, the findings of Judge Day, the written record before Judge Day, a recording of the prior

detention hearing, the pretrial services report, the pre-plea criminal history report, and the

arguments of counsel at the hearing. The Defendant, based upon a finding of probable cause by

the Grand Jury, has been charged with the commission of an offense for which the maximum

term of imprisonment is life, as a result of which it is presumed that “no condition or

combination of conditions will reasonably assure the safety of any other person and the

community.” 18 U.S.C. § 3142(f). The Court finds that the Defendant has failed to rebut this

presumption. Even in the absence of the presumption, the Defendant poses a risk to the safety of

other persons and the community and there is no condition or combination of conditions which

will reasonably assure community safety. Accordingly, it is this 12th day of June, 2014, by the

United States District Court for the District of Maryland,

       ORDERED, that the Defendant’s Motion for Review and Revocation of Detention Order

(ECF No. 165) is DENIED.

                                                                      /s/
                                                               ROGER W. TITUS
                                                        UNITED STATES DISTRICT JUDGE



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